                                 UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )              Case No. 3:11-cr-00020-2
        v.                                          )              Judge Campbell
                                                    )
AUSTIN MICHAEL EVANS                                )

                                   MOTION TO SUBSTITUTE COUNSEL

        The undersigned counsel gives notice of appearance on behalf of the United States of America in

the above styled case; and respectfully moves the Court to substitute him as counsel, relieving Mr. Wehby

of his responsibilities therein.

                                                    Respectfully submitted,

                                                    DAVID RIVERA
                                                    Acting United States Attorney

                                                    s/ Clay T. Lee
                                                    Clay T. Lee
                                                    Assistant United States Attorney
                                                    110 9th Avenue South, Suite A-96l
                                                    Nashville, Tennessee 37203
                                                    Phone: 615-736-5151



                                      CERTIFICATE OF SERVICE

      I hereby certify that on the 22nd day of July, 2016, a true and correct copy of the foregoing
document was sent via the Court’s ECF system to Peter J. Strianse, counsel for the defendant.


                                                    s/ Clay T. Lee
                                                    Clay T. Lee
                                                    Assistant United States Attorney




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